       Case 3:20-cv-00133-JCH Document 211-1 Filed 12/16/20 Page 1 of 12




                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF CONNECTICUT

JAKUB MADEJ                                               Civil Action No. 20cv133 (JCH)
                              Plaintiff,
               VS.                                        JURY TRIAL DEMANDED

YALE UNIVERSITY et al.,                                   DECEMBER 16, 2020
                              Defendants.                 Scheduled for: December 30, 2020


           NOTICE OF VIDEOTAPED DEPOSITION OF MARK SCHENKER

TO:    CLERK OF THE COURT
       COUNSEL FOR DEFENDANTS
       Patrick M. Noonan, Esq.
       741 Boston Post Road, Suite 306
       Guilford, CT 06437
       Email: PNoonan@ddnctlaw.com


       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 30 and LR 30, Plaintiff
Jakub Madej will take the deposition of Mark Schenker upon oral examination, to be recorded by
video and audio. The deposition will be held remotely over Zoom. The deposition shall
commence on December 30, 2020 (Wednesday), at 9:00 am Eastern Prevailing Time. If
necessary, the deposition will be adjourned until completed.



                         TO APPEAR BY VIDEO CONFERENCE,
             PARTIES SHOULD USE THE FOLLOWING INFORMATION:
               JOIN ZOOM HEARING:
                       Meeting ID:                  ; Password:




Dated: December 16, 2020.                       Respectfully submitted,
                                                By: /s/ Jakub Madej
                                                   Jakub J. Madej
                                                   THE LAWSHEET CORPORATION
                                                   415 Boston Post Rd Ste 3-1102
Case 3:20-cv-00133-JCH Document 211-1 Filed 12/16/20 Page 2 of 12




                                  Milford, CT 06460
                                  T: (203) 928-8486
                                  F: (203) 902-0070
                                  E: j.madej(i)dawsheet.com
      Case 3:20-cv-00133-JCH Document 211-1 Filed 12/16/20 Page 3 of 12




                                CERTIFICATE OF SERVICE

       I, Jakub Madej, certify that on December 16, 2020, I sent a true copy of the foregoing
Notice of Videotaped Deposition of MarkSchenker with all attachments and exhibits via electronic
mail to the following attorneys of record:

       Patrick M. Noonan, Esq.
       DONAHUE, DURHAM & NOONAN PC
       741 Boston Post Road, Suite 306
       Guilford, CT 06437
       Telephone: (203) 458-9168
       Fax: (203) 458-4424
       Email: PNoonan@ddnctlaw.com

       I further certify that the Notice of Videotaped Deposition of Mark Schenker was uploaded
to the file sharing platform ShareFile, created by the defendants following the Court's order
dated October 26, 2020.


                                                            /s/ Jakub Madej
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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT

JAKUB MADEJ                                                 Civil Action No. 20cv133 (JCH)
                               Plaintiff,
               vs.                                          JURY TRIAL DEMANDED

YALE UNIVERSITY et al.,                                     DECEMBER 16, 2020
                               Defendants.                  Scheduled for: January 4, 2021



                                   NOTICE OF SUBPOENA


       TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

       PLEASE TAKE NOTICE that, pursuant to Rule 45 of the Federal Rules of Civil
Procedure, Plaintiff Jakub Madej ("Mader) hereby serves a Subpoena on nonparty individual
Sarah Insley Say. Parties agreed that counsel for the defense is authorized and will accept such
service. A true and correct copy of subpoena is attached to this notice.



                          TO APPEAR BY VIDEO CONFERENCE,
              PARTIES SHOULD USE THE FOLLOWING INFORMATION:
                JOIN ZOOM HEARING:
                        Meeting ID:                    Password:




Dated: December 2, 2020                           Respectfully submitted,
                                                  By: /s/ Jakub Madej
                                                     Jakub J. Madej
                                                      LAWSHEET
                                                     415 Boston Post Rd Ste 3-1102
                                                     Milford, CT 06460
                                                     T: (203) 928-8486
                                                     F: (203) 902-0070
                                                     E: j.madej@lawsheet.com
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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action



                                       UNITED STATES DISTRICT COURT
                                                                            for the
                                                               District of Connecticut

                         JAKUB MADEJ
                               Plaintyr
                          V.                                                          Civil Action No.     3:20-cv-00133-JCH
                 YALE UNIVERSITY ET AL.

                              Defendant

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 ro:                                                               Sarah Insley Say
                                                       Name of person to whom this subpoena is directed)

         Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:



 Place:                                                                               I Date and Time:
                        ZOOM Platform (details to follow)                                January 4, 2020 at 9:00 am

          The deposition will be recorded by this method: _Video, stenography

       CI Production: You, or your representatives, must also bring with you to the deposition the following documents,
          electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
          material:




        The following provisions of Fed. R. Ciy, P.45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as J! person subject_to a subpoena; and Rule 45(e) and (g), relating to your duty to
           tit' ib
respond to/s    s poena and the pe'tetittal comequenCe,s.of,not doing so.

Date:          gdooCLERK                     OF
                                                                                         OR

                                          Signattfre ofClerk:br.Dgpaiy Clerk                                  Attorney's signature
                                                       -_        -

The name, address, e-mail address, and telephone number of the attorney representing (name of party) Jakub Madej
65 Dwight St, New Haven CT 06511 yale@lawsheet.com 203-928-8486_ , who issues or requests this subpoena, are:



                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
                    Case 3:20-cv-00133-JCH Document 211-1 Filed 12/16/20 Page 6 of 12


 AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert's opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert's
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specibiing Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party's officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
  (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
  (B) inspection of premises at the premises to be inspected.                      procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost eamings and reasonable attorney's fees—on a party or attorney who                (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attomey designated        requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery,
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for           (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party's officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.

                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT

JAKUB MADEJ                                                Civil Action No. 20cv133 (JCH)
                              Plaintiff,
               vs.                                         JURY TRIAL DEMANDED

YALE UNIVERSITY et al.,                                    DECEMBER 16, 2020
                              Defendants.                  Scheduled for: January 4, 2021



                               TENDER OF SUBPOENA FEES

FOR: Ms. Sarah Insley Say

       This is to tender the fees for your 1 day's attendance and the mileage for your testimony
under the Subpoena Ad Testificandum attached, pursuant to Federal Rule of Civil Procedure
45(b)(1).
       I estimate that reasonable fees for attendance and for mileage are equal to $40 (forty
dollars). Below you will find credit card details, which you should use to cover expenses incurred
in association with this subpoena.




        No.                          (Visa)           Expiry Date:                  CVV:
        Amount: $40 (forty dollars)



Dated: December 16, 2020                         Respectfully submitted,
                                                 By: /s/ Jakub Madej
                                                    Jakub J. Madej
                                                     LAW SHEET
                                                    415 Boston Post Rd Ste 3-1102
                                                    Milford, CT 06460
                                                    T: (203) 928-8486
                                                    F: (203) 902-0070
                                                    E: j.madej@lawsheet.com
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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT

JAKUB MADEJ                                                Civil Action No. 20cv133 (JCH)
                              Plaintiff,
               vs.                                         JURY TRIAL DEMANDED

YALE UNIVERSITY et al.,                                    DECEMBER 16, 2020
                              Defendants.



                                CERTIFICATE OF SERVICE

       I, Jakub Madej, hereby certify that on December 16, 2020, I sent a true copy of the
foregoing Notice of Subpoena with all attachments and exhibits via electronic mail to the following
attorneys of record:

       Patrick M. Noonan, Esq.
       DONAHUE, DURHAM & NOONAN PC
       741 Boston Post Road, Suite 306
       Guilford, CT 06437
       Telephone: (203) 458-9168
       Fax: (203) 458-4424
       Email: PNoonan@ddnctlaw.com

       I further certify that the Notice of Subpoena was uploaded to the file sharing platform
ShareFile, created by the defendants following the Court's order dated October 26, 2020.


                                                            /s/ Jakub Madej
      Case 3:20-cv-00133-JCH Document 211-1 Filed 12/16/20 Page 9 of 12




                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF CONNECTICUT

JAKUB MADEJ                                                Civil Action No. 20cv133 (JCH)
                              Plaintiff,
               vs.                                         JURY TRIAL DEMANDED

YALE UNIVERSITY et al.,                                    DECEMBER 16, 2020
                              Defendants.                  Scheduled for: January 8, 2021


      NOTICE OF 30(b)(6) VIDEOTAPED DEPOSITION OF YALE UNIVERSITY

TO:    CLERK OF THE COURT
       COUNSEL FOR DEFENDANTS
       Patrick M. Noonan, Esq.
       741 Boston Post Road, Suite 306
       Guilford, CT 06437
       Email: PNoonan@ddnctlaw.com


       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 30(b)(6) and LR 30 and the
Notice of Deposition dated November 30, 2020, Plaintiff Jakub Madej will take the deposition of
Yale University upon oral examination, to be recorded by video and audio. The deposition will
be held remotely over Zoom. The deposition shall commence on January 8, 2021, at 9:00 am
Eastern Prevailing Time. If necessary, the deposition will be adjourned until completed.
       PLEASE TAKE FURTHER NOTICE that Yale is requested to designate the person or
persons most knowledgeable and prepared to testify on behalf of Yale concerning the subject
matter described in Attachment A hereto. If necessary, each deposition will be adjourned until
completed.



                         TO APPEAR BY VIDEO CONFERENCE,
             PARTIES SHOULD USE THE FOLLOWING INFORMATION:
               JOIN ZOOM HEARING:
                       Meeting ID:                  ; Password:
    Case 3:20-cv-00133-JCH Document 211-1 Filed 12/16/20 Page 10 of 12




Dated: December 16, 2020.          Respectfully submitted,
                                   By: /s/ Jakub Made]
                                      Jakub J. Madej
                                      THE LAWSHEET CORPORATION
                                      415 Boston Post Rd Ste 3-1102
                                      Milford, CT 06460
                                      T: (203) 928-8486
                                      F: (203) 902-0070
                                      E: j.madej@lawsheet.com
      Case 3:20-cv-00133-JCH Document 211-1 Filed 12/16/20 Page 11 of 12




                                  ATTACHMENT A
        In accordance with Fed. R. Civ. P. 30(b)(6), Yale University shall identify, designate, and
produce for deposition one or more officers, directors, managing agents or other person(s) most
knowledgeable to testify on its behalf regarding the subject matter of the following categories:

TOPIC NO. 1

        Yale's policies, procedures, and practices related to voluntary and involuntary
withdrawals of undergraduate students from Yale College from 2013 to the present.

TOPIC NO. 2

       Yale College's 2015 reforms of withdrawal and reinstatement policies, procedures, and
practices.

TOPIC NO. 3

       The administrative oversight over Committee on Honors and Academic Standing at Yale
College.
      Case 3:20-cv-00133-JCH Document 211-1 Filed 12/16/20 Page 12 of 12




                                CERTIFICATE OF SERVICE

       I, Jakub Madej, certify that on December 16, 2020, I sent a true copy of the foregoing
Notice of Videotaped Rule 30(b)(6) Deposition with all attachments and exhibits via electronic
mail to the following attorneys of record:

       Patrick M. Noonan, Esq.
       DONAHUE, DURHAM & NOONAN PC
       741 Boston Post Road, Suite 306
       Guilford, CT 06437
       Telephone: (203) 458-9168
       Fax: (203) 458-4424
       Email: PNoonanddnctlaw.com

       I further certify that the Notice of Rule 30(b)(6) Deposition was uploaded to the file
sharing platform ShareFile, created by the defendants following the Court's order dated October
26, 2020.


                                                            /s/ Jakub Madej
